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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

SHIRLEY ISON-NEWSOME,                            §
                                                 §
        Plaintiff,                               §
                                                 §
v.                                               §    Civil Action No. 3:22-CV-2805-L
                                                 §
JPMORGAN CHASE BANK,                             §
NATIONAL ASSOCIATION,                            §
                                                 §
        Defendant.                               §

                                              ORDER

        Before the court is the parties’ Joint Motion to Stay All Deadlines and Notice of Settlement

(“Motion”) (Doc. 52), filed April 25, 2024. The parties advise that they have reached an agreement

in principle that will resolve all matters between them, and they, therefore, request that all

deadlines in this case be stayed until May 27, 2024, to give them time to finalize and file dismissal

papers. The court truly appreciates the efforts of the parties and counsel in resolving the claims in

this case and grants their Motion.

        Accordingly, the court stays all deadlines in this case. The deadline proposed by the parties

is a federal holiday. The court, therefore, directs them to file a joint stipulation of dismissal or

agreed motion to dismiss by May 28, 2024. In light of the parties’ settlement, the court also

vacates the referral to the magistrate judge (Doc. 47) of the Emergency Motion for Protective

Order and to Quash (Doc. 44) and denies as moot this motion.

        Additionally, as there appears to be no reason at this time to maintain this case as an open

file for statistical purposes, the court determines that it should be, and is hereby, administratively

closed and directs the United States District Clerk to submit a JS-6 form to the Administrative

Office, thereby removing this case from the statistical records. Nothing in this order shall be


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considered a dismissal or disposition of this case, and should further proceedings in it become

necessary or desirable, any party may file a motion to reopen the case to initiate such further

proceedings, or the court may take such action sua sponte.

       It is so ordered this 25th day of April, 2024.


                                                    _________________________________
                                                    Sam A. Lindsay
                                                    United States District Judge




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